
January 21st, 1817.
Judge Roane
pronounced the Court’s opinion as follows :
The Court, in consequence of a certificate from the Chancellor, filed among the papers, have inspected the Act of May, 1783, ch. 172, and considers it a part of the Record; (1) the necessity of a certiorari being waived by counsel; and so - considering it, is of opinion that there is no en»r in the said Decree, which is therefore affirmed.

 Note by the Reporter. The Court seems not to have considered it necessary to-make tlie Act of 1794, ch. 37, a part of the-Record, because the donation of the escheated lands from the Commonwealth to the College was not put in issue by the Answer, as was the right of the Trustees to sell. Indeed, the fact of that donation might well be considered, under the circumstances of the case, as admitted by the defendant.

